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APPENDIX I
TABQ

 
 

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In The Matter Of:

Tammy Kitzmiller, et al. v.
Dover Area School District, et al.

 

Trudy Peterman
April 7, 2005

 

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Original File TPO40705. TXT, 94 Pages
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Tammy Kitzmiller, et al. v.
Dover Area School District, et al.

 

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

rudy Peterman
April 7, 2005

 

a]

 

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STIPULATION

 

(2) It is hereby stipulated by and between the
TAMMY KITZMRLEH, ef al... i] respective parties that sealing, certification and filing
Piainiits CIVIL ACTION NO. 04-CV-2688 4) are waived; and that all objections except as to the form
bowen AREA SCHOOL DISTRICT. QUDGE JONES) is) of the question are reserved until the time of trial.
i)
* verdant i1  TRUDY PETERMAN, called as a witness, being duly
Deposition of : TRUDY PETERMAN fa] Sworn, was examined and testified, as follows:
Taken by © Plaintitts BY MR. ROTHSCHILD:
Date : April 7, 2005, 8:00 a.m. 1a «= GQ: Good morning, Ms, Peterman.
Belore : Vicki L. Fox, AMR, 7) ~=A: Good morning.
Aleporter-Notary 270 @: Dr. Peterman, lapologize. It doesn’t matter,.My name
Place : 200 One Keystone Plaza u3) is Eric Rothschild. I represent the plaintiffs in the
North Front and Market Streets ua, lawsuit captioned Kitzmiller, et al. versus the Dover
Harrisburg, Pennsylvania (14) Area School District and Dover Area School District
APPEARANCES: 16) Board of Directors.
PEPPER HAMILTON, LLP 7) And your deposition has been noticed through a
BY: ERIC ROTHSCHILD, ESQUIRE 11a) subpoena, and you are here to testify in a deposition in
For - Plaintiffs (19) that case; do you understand that?
THOMAS MORE LAW CENTER a =A: Yess, sir
BY: PATRICK T. GILLEN, ESQUIRE 2) @: Have you had your deposition taken before?
For - Defendants e2t A: Yes.
Page 2 |231 4G: On how many occasions?
@ INDEX 24) A: [believe once,
WITNESS 2) @: Do you rememberthe circumstances of that deposition?
(3] TRUDY PETERMAN Examination Page 4
"a ty) A: Yes.
By Mr, Rothschild 3, 63
| By Mr. Gillen Bt 1 Qi What were those? a
a : [3] A: It was a court case in Virginia.
4] Q: Were you a party to thal case?
is] A: Yes, 1 was.
i (6)  @: Can you give me just a general description of what it
EXHIBITS [7 was about?
i107 f= A:: I was the plaintiff in that case. And it was a case
Plaintitls Deposition Exhibits Page {9} against a School Board in which they had nonrenewed me
14] (10) Over an issue of mold. The school that E inherited had
4. Newspaper Articles. 7 (tt) mold, and I would not falsify records saying that the
[12] 12} school didn’t have any mold. And it was basically over
9. Memo trom Trudy K. Peterman, Mr. Baksa, Mr. 17 [13] that. ,
[14] Redding, Mrs. Spahr. 14) @: Lam just going to give you sort of a very brief
(14] 37. June 4th Board minutes. 17 {i§] description of the deposition process we are going to
[5] {*6) have today. | am going to ask you questions, and you
18} (17]) are going to give answers.
17) (18) After ] am done, Mr. Gillen may have some
18 (19 questions for you. The question and answer will be
(9) 20} transcribed by the court reporter creating a written
ey (21) document recording our questions and answers today.
@ (225 In order for that record to be clear, first of
eel (23} all, I need to speak slowly for the court reporter’s
ne (24) benefit. And if you could do the same, that would be
fest helpful.

[25)

 

 

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Page § Page 7
} Lalso need you to answer with words rather than It) A: My first degree, ] received a Bachelor of Science in @
} with nods of the head or other kinds of verbal cues that ia Secondary Education, English from Penn State University
} wouldn't be clear on the written record. 3] in 1977. 1n 1984, 1 received my Master’s in College
: Do you understand that? #4) Administration from Penn State University.
7 A: Yes, sir. 15] In 1996, ] received my Principal Certification
1 @: The product of this question and answer, as I said, will is} from Indiana University of Pennsylvania. And in 1999, 1
7 be a document called the transcript. You have the {7 received my Doctorate in Educational Administration and
} option if you would like to review that transcript 18} Leadership Studies from Indiana University of
1 before it becomes finalized, we call it read and sign. 13] Pennsylvania.
) That means once you get the transcript, you have thirty 119) G: How long were you a schoolteacher?
} days to review it, see if there is any errors in the Ha A: ] was a schoolteacher in the public schools for 14
} transcript and make us aware of those errors. 112) years. ,
1} Deo you want to do that? 13a] @: lam going to show you a document that we have
} Ar: Yes, sir. [14] previously marked as Piaintiff Deposition Exhibit 9.
}  @: lexpect this deposition to be very short, at least from 1s} Do you recognize this document?
j my standpoint. But if at any time you would like to ite) A: Yes, sir: } do.
} take a break during the process, please let me know, (17) @: Can you describe what it is?
) and, of course, we will do that. Okay? (18) A: This is a communication to the Assistant Superintendent
] A: Yes, sir. fig} of the Dover Schools Mr. Michael Baksa; Larry Redding,
}  G@: Were you ever the Principal at Dover High School? 20) my Assistant Principal, and Mrs. Bertha Spahr. It is
} A: Yes, sir; 1 was. 21) regarding Creationism as it relates to the Approved
4  @: When did you first take that position? i22] School Board Biology One Curriculum.
} A: I took that position in July of — Fm trying to think 23] © @: Is this a document you created?
] here — of 2002. [24] A: Yes, sir. ©
| @: Are you still the Principal of Dover Area High School? 2s} Q: Is that your written signature next to your name on the
Page 6 Page 8
) A: No, sir; T am not. ty document?
}  @: When did you leave? l= Ar Yess it is.
) A: Tleft in — I believe my ending date was July, 2004. 3] @: Did you create this document on or around the time it
} G@: Why did you leave? [4] Was dated April Ist, 2003?
) Ar Dleft because 1 got a better position. | went from a 0A: Yes, I did.
| Principal to an Assistant Superintendent of Schools. ts] @: In the first paragraph of this document, you refer to a
"| And also, there was a lot of controversy going on in [7] conversation that you had with Mrs. Spahr on April Ist,
_ | Dover with the School Board, and it was just an Is) 2003, Do you remember that conversation?
] uncomfortable employment situation. mp OA! Yes.
1 @: When you refer ta controversy, are you referring to io})«=—s GQ: And in that first paragraph, you discuss what Mrs. Spahr
"| anything specifically? [14] told you about her conversation with Mr. Baksa; is that
_ 3 #: There was the controversy over the Creationism issue, [ta] right?
. ] and 1 personally did not appreciate how the School Board rays Yes, sir.
| at School Board meetings treated my faculty and members 4)  @: And inchided in that paragraph is the statement that —
_ 1 of the public who chose to speak out for and against H1§] you record in that paragraph that Mr. Baksa further
. 2 certain issues. [16] stated to Mrs. Spahr on March 31st, 2003 that this Board
| @: Tam going to ask you some followup questions regarding {17] member wanted fifty percent of the topic of Evolution to
} those observations. But before that, I just want to [18] involve the teaching of Creationism.
] learn a litte bit about your background. (19) Now that text that J just read there is something
. 1] Have you ever been a schoolteacher? feo} Mrs. Spahr told you; correct?
} A: Yes, sir. je} =A: Yes.
| @: What grades did you teach? (22, GQ: You were not part of Mrs. Spahr and Mr. Baksa's ©
| A: 1a taught grades nine through twelve. 1] was a (23) conversation?
| secondary English/Latin teacher. 24) A: No, was not.
} @: What are your degrees in? (25, GQ: You did not separately learn this information from Mr.

 

 

 

 

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Page 9 Page 11
e 6 Baksa? [t) A: There were two circumstances. First, he was at that
fq 0 OA: No. (2) time I believe head of the curriculum committee. And
i] ©: Nor from any School Board member? 3 there was a meeting among the following people: Mr.
4) A: This particular information? I) Baksa, myself, Mr. Buckingham, Bert Spahr, Rob Eshbach,
i] «=: Yes. (9) and Jennifer Milfer. And Mr. Buckingham had brought in
te} «0A: No. [6] some textbooks.
e g  Q: Does this first paragraph accurately record what Mrs. fm This meeting was in the spring of 2004.1 don’t
ta) Spahr told you on April 1st, 2003? fe} recall the date.And he wanted us to view a videotape.
3] A: Yes, it does. (9) Tam not sure of the exact organization, but I think it
[1oq} 4: The sentence | read at the end of the paragraph refers jto) was some think tank out of Seattle, Washington.
[11] toa Board member wanting fifty percent of the topic of (1; And he wanted us to view the videotape because
e [12 Evolution to involve the teaching of Creationism. [t2] peopte on the videotape discussed Creationism; and at
{13) Did Mrs. Spahr advise you about her understanding [13] that time, we were going to order a textbook from Levin
[14] as to whe the Board member was? }14) and Miller, And J believe Dr. Miller was interviewed on
(15) A: Yes, she did. [ts] that tape.
te} @: Who did she say? (te «= And the term Creationism was used by several
[7 A: She said Alan Bonsell, however you want to pronounce it. 11%} people. Mrs. Spahr several times through several of our
e 9) « @: And then following that paragraph describing your {181 book meeting sessions brought up the fact about the 1987
[1g] recording your conversation with Ms. Spahr, you raise a (19 Supreme Court case Edward vs. Aguillard or whatever and
zo} Aumber of issues and questions for Mr. Baksa; is that [20] noted that basically Creationism could not be taught in
fei) fair? 21] a science course which that case directly referred to.
#2) A: Yes. The reason I raised the issues is because I had 2] The other time that religious things were stated
(23) two nontenured biology teachers, and I didn’t want them 123) was in the June, 2004 Board meeting. In that Board
e to be accused of erroneously representing the approved [24] meeting, | don’t recall Mr. Buckingham’s terminology,
6] School Board curriculum at that dme. (25) but he said something to the effect that 2,000 years
Pages 10 Page 12
(1)  @: Did Mrs.Spahr ever communicate to you, whether verbally ti] ago,a man died on that cross, something to the effect
2] or in writing, that your account of your conversation 12) for all of us.
13] with her was in any way incorrect? g And also in that Board meeting, his wife got up in
® 4) A: No, sir. #4] public comment and said why we should have Creationism
1 «©: Did Mr. Baksa ever communicate to you whether verbally i} and religion in the schools. She quoted several Bible
Is) or in writing that your account — that the account you 1 verses which J can't recall, And that’s what I remember
I} were reporting misrepresented his conversation with Mrs. 7] about Mr. Buckingham’s comments.
18) Spahs? 8} Gz: Did this June, 2004 meeting include discussion of the
i) A: No, sir. (9) biology curriculum or biology textbooks?
e 19)  @: Did Mr. Baksa ever respond to your memo in any way? io) «=A: Mrs. Spahr spoke at that meeting about the textbook
At No, sir. 1) issuc.And she also gave like a legal history of
(127 G@: Did anybody in school administration respond to the [12] Creationism in public education.
{13] Memo? 133 G:! Did Mr. Buckingham use the word Creationism? Do you
(14) At | believe Dr. Nilsen noted that he had received it. ['4) remember whether Mr. Buckingham used the word
[3] GQ: And other than noting his receipt, did he in any other {15} Creationism in that meeting where he also said 2,000
®e [!6] way respond to the content of this memo? (16) Years ago?
17) Az Not that I recall. 7) At As best as] can recall, ] do believe he used the term
(8)  G: Have you ever heard any member of the Dover Schoo} ja) Creationism.
[1s) District Board express a desire to have Creationism [19] Q: Is your recollection that Ms. Spahr also used the word
(20) taught in the high school? 129] Creationism in order to describe what could not be done?
3} A: Yes, sir. (23) Az Yes.
e 6 Q: What Board member did you hear express that desire? 1224 Q: Did Mr. Buckingham in any way dispute the suggestion
123] «At William Buckingham. je] that that was what the Board was trying to do?
24 «=: What were the circumstances in which you heard him say j24]. At I don't recall because — during my tenure as Principal

(25)

that?

(25)

 

 

during the two years that] was there, the only term

 

 

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} that ] was familiar with was Creationism. Obviously, it
is the title of my memo.
I never heard quote/unquote Intelligent Design
Theory come into play until July, 2004 right before I
was petting ready to depart from the District to assume

ee

—

another position.

Q: And do youremember what the circumstances were that you
did hear about Intelligent Design in July?

A: I don’t recall accurately. I don’t know whether it was
in a newspaper article or whether it had been some
discussion. There was a discussion I believe about they
were looking at some Christian schools and some
parochial school science textbooks.

They were looking at what Mr. Buckingham termed a
Christian textbook, and then the book Of Pandas and
People was brought up. It seemed that the Intelligent
Design Theory was kind of synonymous with the
presentation Of Pandas and People’s textbook.

Q@: Am I correct in understanding from your description that
you do not recall Intelligent Design being referred to
in that June meeting?

A: No.

MR. GILLEN: Objection to the form.

BY MR. ROTHSCHILD:

Q: Teli me what you know about this review of parochial

ae ae ia ea el

Page 14

schools to find out what they were teaching.

A: The review I remember as some of the schools were
actually teaching the Levin Miller book.And I can
remember just about the book review, we had to like
xerox sections where books mentioned like Creationism
specifically. And chat's just about all I recall.

@: Do you know who did this investigation of parochial

schools?
A: Mr. Buckingham I think called around to several local

schools.
| @: And then you refer to a Christian textbook. What did

you mean by that?

| A: I don’t recall the exact name of the textbook, but he
referred to a book as this was a book chosen by either

: parochial or. Christian schools. | don’t recall. We

reviewed so many backs that I just don’t recalj the

name.
Q@: Did Mr. Buckingham or any other Board member urge the
acquisition of that Christian textbook?
A: Not during my tenure. I think this was just at the
inception of the discussion of these different books
that were used by Christian schools or parochial

schools.
Q; I would like to go back to the meeting, the first
instance of 2 discussion of Creationism in the meeting

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{t) that included yourself, Mr. Baksa, Mr. Buckingham and @
(3) three of the science teachers.

8} «=©Bid Mr. Buckingham in that circumstance actually

aj use the word Creationism?

ti) 0A: Yes, he did.

6} @: Do you remember what he said about it?

7] A: I believe he was ina discussion with Mrs. Spahr about

[9] this issue.Also I know that Mr. Eshbach and
@] Mrs. Miller at that point revealed — and | had already
fo} had known it — that both of their fathers were
iif] ministers, and that they were PK’'s, preacher's kids, and
[12] that they did not — that they did not believe in the
[13] teaching of Creationism as biology teachers.
And during my tenure at Dover, we did not teach
the origin of life. We taught the origin of species,
which is an entirely different subject.
GQ: When you use the term origin of life, what do you mean
by that?
A: We never got into — there was never any discussion
about when a fetus became a baby. There was no
discussion about that. There was no discussion of

[14]
{15}
[§6]
it?]
(1B)
(19)
(20)
let}
[22]
fea]
(24)
(25)

basically the beginning of life.

When I talk about the origin of species, the only
thing that was ever discussed in the Dover curriculum
were possibly three or four days about Darwin's survival

Page 16

of the fittest and adaptive selection. And basically,
we used the example of the 13 different kinds of finches
that were on the Galapagos Islands. That is the only —
of the 19 days spent on the chapter of Evolution, only
uhree or four days even menuoned Darwin.

@: When Mr. Eshbach and Ms. Miller expressed their view
that as biology teachers they didn't believe Creationism
should be taught, did Mr. Buckingham respond to that?

A: He always had a response that he just felt that this was
what was needed in schools.] don’t think he just meant
Dover schools, I think he meant all schools.

Q: The this he thought was needed was the teaching of
Creationism?

A: Yes.

Q: Do you remember what the movie was called that he had

2
{3]
4
£5)
fe]
7
18}
(9)
[16
{1]
t2]
113)
{i4]
[15]
[18]
7}
i18}
Hy]
{20]
[21] my science teachers to see — and | only saw parts of

[22] it; they saw the whole thing. That this video shot

23a¢ holes in Darwin's Theory.

Q: That is the only comment he made that you can recall?
Ar Yes.

_

you watch?

A: No, I don’t.

Q: Did he give any commentary about the movie other than
asking you to sec it?

A: He several times stated that the video which he wanted

(24)
{25]

 

 

 

 

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e
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Page 17 Page 19
@ @ (Plaintiffs Deposition Exhibit 37 was marked} (t]) GQ: Atthe same meeting?
13 BY MR. ROTHSCHILD: tq] at Yes, it is. They did occur at the same meeting.
=]  Q: Just on the June meeting — 3]  Q: Just one last question. Have you maintained any
14] A: If 1 could add something. At that meeting in the spring i] documents retating to your tenure as Principal at Dover
{5} of 2004, also I believe Sheila Harkins was there. is} High School?
ts) @: And did she speak at all during the meeting? ta «©: No, L have not.! left everything in the office.
® @ CA: She did speak, but nothing that J recall at this time. 7 @: TL have no further questions.
a] I can't recollect anything that stands out. 13} MR. GILLEN: Could we take a brief break? I have
i}  @: Sure. 1 just want to go back to the June meeting. The I} got a few.
[19] document we have marked as Plaintiffs Deposition Exhibit tio) «Ar Sure.
[11] 37 are Board minutes from June 14th, 2004, [11] (A recess was taken.)
° (t2} Do you see that? (12 AFTER RECESS
113) OAs Yes. (13] BY MR. ROTHSCHILD:
(4) Q: And I believe in the second paragraph it indicates that 4}: Dr. Peterman, one thing you said earlier in your
jts] you were present at that meeting? [15] testimony was that you didn't like how the School Board
[165 A: Yes. [16] treated your faculty and members of the public who got
17) @: And] just want to show you we have a group of newspaper [17] up to make comments at School Board meetings.
e (18) articles relating to the controversy that we have 18] Can you describe what bothered you?
{19} previously marked as Plaintiff Deposition Exhibit 4.1 19] A: Tam going to be — obviously, 1 am going to be
(20) would just like you to take a Jook at the article dated wo} perfectly blunt with what ! say here. At one of my
(21) June 15th, 2004 in the compilation authored by Joseph 21) first School Board meetings, a member of the School
(23) Maldonado, which is the day after the meeting which I (227 Board called a woman who was giving an opinion whom she
23] just gave you the minutes for. Is that right? ras} disagreed with a bitch, and ] was absolutely appalied.
e A: Yes. The meeting was June 14th. This is dated June 24 ‘The same Board member, who was Mrs. Yingling, at
5] 15th. 125) one of the Board members asked for a break because she
Page 18 Paga 20
ti}  G: And the article begins at Monday evening's Dover Area [] had to pee.And she said that right in public.
2 School Board meeting, William Buckingham apologized to i And 1 didn’t like at times how they addressed Mrs.
3] anyone he may have offended with the comments he made at Is] Spahr. Mrs. Spahr has been teaching in that District
e (4) last week's Board meeting during discussions over a new 4 for over 35 years. She is revered in the community.
8] biology book for the high school. 5} She has won every chemistry award that a public school
ta) And then it goes on I guess about six paragraphs ls) educator can win. She has taught the children of the
[7] down to quote him as saying 2,000 years ago someone died 7 children of the children.
(8) On a cross, can’t someone take a stand for him; do you i) 1 was very, as a Principal, defensive of my
: (s} see that? ps] faculty whoo I felt always acted in a professional
e na A: Yes, sir. [19] manner.And I feel that if we go back to Stephen Covey,
ot; Gr Is that consistent with your recollection that he in [11] at times we just have to agree to disagree. And there
[12} fact said those words on or around June 14th, 2004? {12] was no give and take with the School Board. And the
(3) ~~ A: Yes, that is absolutely consistent with what I heard. (13] lack of professionalism in micromanaging was something
14] @: Going over to the next page, about four paragraphs down 4] that I was not used to.
[15] there is a reference to his wife Charlotte Buckingham's 1s)  G@: When yourefer to School Board members who— 1 will use
e (18) appearance during public comments in which she quoted {1¢] the phrase — acted disrespectfully to the faculty, is
(17) from the book of Genesis and asked how can we ailow 17) that a fair characterization?
{18} anything else to be taught in our schools? ia] At Yes.
[19] Is the information reported about Mrs. Buckingham pa] Q: Are there specific faculty members that you are thinking
(20) Consistent with your recollection? jo) about in terms of that interaction?
} A: Yes, it is. ‘ey A: Yes.
e © Q: And both the quote attributed to Mr. Buckingham and the 24] @: Who was that?
[23] comments attributed to Mrs. Buckingham, is it consistent 2) «A: =I didn't like how Mr. Buckingham J believe it was at the

with your memory that occurred?
A: Yes.

[24]
[25]

[25]

 

 

(24) June meeting asked Mrs. Spahr where she got her

information, or at times he — I don’t recall exactly —

 

 

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| where she got her degree. I didn’t know what he meant,
| cither her science degree or law degree. 1 didn’t know
} what he meant by that.
} Ididn't like how they handled a situation with a
] particular teacher who had a DUI. J was obviously
} Principal of record. He was a very popular football
} coach. In the state of Pennsylvania, no one has ever
} lost a job over a DUI. They took away his football
1 position, which they could do, But 1 didn't like how
} the whole thing transpired.
} @: Ms. Peterman, 1 know you were no longer Principal at
} this point, but did you attend the meeting at which the
} School Board voted in the new biology policy to add
] Intelligent Design to the curriculum?
) A: No.
} MR. ROTHSCHILD: I have no more questions. Thank
} you. :
} BY MR. GILLEN:
}  @: Good morning, Dr. Peterman. We met off the record. Let
| me introduce myself for the record. My name is Pat
} Gillen, and 1 am one of the attorneys for the School
4 Board.
i] Mr. Rothschild has asked you a couple of
} questions. | have a few follow-up. The rules that he
} gave you apply here, which if you are tired, faugued

Page 22
} and want to take a break, let me know, and we can do
1 that.
1 | just want to get a better idea for myself about
) what you know that relates to this biology curriculum
i] and the biology text.
If ask you to lock at 2003, was there any time
} in 2003 when the biology text, biology curriculum, any
) of that came to your attention?
4 A: I think in the spring of 2003 when they were getting
ready to select a new textbook was when a lot of this

slarted,

Q: The spring of 2003?
yA: Yes.
Q: What do you recall from that period of time that relates

moe

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(6)
(17)
(38)
19]
[20]
[21]
[22]
[23]
(24)
i25]

 

 

the approved School Board curriculum at that time.

And they felt that the Levin and Miller book
addressed the issues in the current curriculum of which
I was under the best of any of the textbooks.

Q@: And we see Mr. Rothschild has asked you questions about
this Exhibit 9, which is your memorandum.

A: Yes.

Q: If we take that as a marker again, 1 am just trying to
get a sense for the development of events through 2003.
Was there anything after this discussion you recount
here in this memo for the remainder of the 2003 year
that stood out in your mind and related to the biology
textbook, biology curriculum?

A: Yes.

Q: Teil me, please.

A: After this memo was written — my Assistant Principal at
the time was Mr. Larry Redding. | think it was after
the memo had been written and there had been some
discussions that Mr. Baksa had — and I don’t know who,
whether they be with Alan Bonsell or Mr. Buckingham.
Mr. Baksa was in my office with Larry Redding present.
And the issue of Creationism did come up along with a
selection of textbooks.

And Mr. Baksa made the statement that you don't
understand where Rich stands on these issues.And as |

Page 24

recollect, Mr. Redding said to Mr. Baksa, but it's your
job as the Assistant Superintendent in charge of
curriculum to give the best advice possible in regard to
the curriculum.

And that was the first indication that I had
personally as a Principal that perhaps what Mr. Baksa
was alternpting to say is that Dr. Nilsen had very strong
views on this subject also.

Q: Let me ask you about that. When Mr. Redding — how do
you spell Redding?

A: R-e-ddhisrg.

Q: When he was addressing Mr. Baksa — and | take it that
the thrust of his comments is that Mr. Baksa owed Dr.
Nilsen his best advice as Assistant Principal, what did

 

 

3 to what I will call the issues in this litigation, the 118) Mr. Redding think he was discussing, what issue did he

3] selection of the biology text, the biology curriculum? 116] think Mr, Baksa owed Dr. Nilsen advice on?

1 A: Itwas after — it was on that — when Mrs. Spahr told 17] A: We were basically discussing the issue of the current

4] me about the March 31st, 2003 conversation she had had 118) curriculum and the adoption of the textbooks.

4 with Mr. Baksa was when I think this really started. 19] GQ: But what more specifically, what about the text came up
y And at that point, they had already been reviewing some 20) that would lead Mr. Redding to make such a statement?

1) of the textbooks. I believe the Department looked at by At The teaching of religion in public schools.

4 eight different biology textbooks. That is my (223 «©: Tell me what do you recall about that? How was that

3] recollection. 23} discussed? Did Mike Baksa say well, they want to teach

q And they actuaily went down and looked at the (24) religion?

3} different aspects in terms of standards and in terms of [25] A: The crux of that discussion as [ recall was brief. It

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was not long, attorney Gillen.

It was just something that | felt that Mr. Baksa
was expressing his frustration. If I had to
characterize it, he was extremely frustrated with the
entire situation as it was al that time.

And at that time, we had no idea that it was going
to take the life on that it did.] think Mr. Redding
was making a comment that, you know, just as Iam an
Assistant Superintendent now, that there are issues that
come up that you have to advise the Superintendent with
your experience and with what you know about law. Maybe
we should stay away from this issuc.

Q: Forgive me. [am just trying to get a better sense for
actually what is producing this discussion and what is
being said. I see that you have got this memo here.

And you indicated that Dr. Nilsen told you | got the
memo?

A: Yes.

Q@: You said that Mr. Baksa never got back to you about it?

A: He actually never did, but he never talked about the
memo specifically. But did the subject of Creationism
and the science textbooks come up? Obviously, because
we tried to get them adopted at several Board meetings,
and they would always take the biology books off, or the
biology books were never a part of that adoption.

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@: We are talking about the 2003 year?

A: Yes.

Q: And, again, ] am trying to get the best recollection
that you have as to how that year unfolded. We have the
memo?

A: Yes.

Q: You have mentioned two things so far, a conversation in
your office with Mr. Redding and Mr. Baksa?

A: Yes.

Q@: And also a notion of the books coming up and trying to
get them adopted, and they were taken off the agenda?

A: In 2003, we were reviewing the books. We were looking
at them.The subject of Creationism had come up through
Mr. Baksa and Mrs. Spahr. And we were still continuing
to look at books that the School Board may be
recommended to us.

And as the 2003 year went into the 2004 year, we
actually went back and reviewed the books that we had
already reviewed because We were trying to attempt to
get the books passed because we needed them.

Also I don’t recall when the 2003 year ended and
merged into 2004, there was that one specific meeting
that I know that we set up where the science teachers
had a conversation about the textbooks with certain

Board members.

Trudy Peterman
April 7, 2005

 

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I believe also there was an earlier mecting. |
don’t know if it was late in 2003 or carly in 2004 where
the science teachers just met with Mr. Bonsell and had a
discussion with him. I know that that attended, but ]
don’t believe I was at that meeting.

So I think there were — to give you a sense of
what was happening, there was obviously some concern on
the School Board's part about the content of some of the
science books. So we were in 2003, after March, we were
reviewing books, continuing to review books, reviewing
books again. And discussions about Creationism and the
law, you know, were held in some meetings and were
brought up at certain School Board meetings.

And about the time that I exited the District in
July of 2004 was the first time that I had heard
Intelligent Design being brought into the conversation.

Q: And I know this is somewhat difficult, but this is my
chance to ask you some questions. Let's try and if we
can focus first on 2003.

A: Okay.

@: I know you have this memo here, You have referenced a
couple of things so far.] am trying to get my best
sense for what you recall about those.

So far you have referenced a conversation with
Larry Redding and Mike Baksa?

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A: Yes.

G: Do you believe that was in 2003?

A: Yes, that was definitely in 2003. It was before the
school year ended. Then you asked about 2003. This is
happening very late in the school year. :

When June of 2003 came and the teachers left, it
kind of was in hiatus over the summer, July and August.

I don’t think the issue surfaced again until we returned
to school in August, September. And then we started
reviewing the textbooks again.

And it seemed that as the 2003 year ended, like in
December, we were still reviewing the textbooks and
meeting with Mr. Baksa and certain Schoo! Board members
that were on the curriculum committee or who wanted to
attend to try to get a sense of like what they wanted,
what we were locking for as teachers and administrators
and what our curriculum was.That's what | recall.

Q: So we have in 2003, we have got the memo. Now we have
got — give me a sense for — you said there was sort of
a hiatus that you recall) during the summer?

A: Yes.

Q: And the issue as you recall came up again in the fall?

A: Yes, because we were still in the process of reviewing
the textbooks.

@: Okay. Do you recall meetings addressing the text in the

 

 

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A: Yes.The science teachers met as a Department I think
} during some inservice days.
} @: Okay.
) A: Ido believe in early 2003, that there was a meeting
} held with Mr. Baksa and some of the science teachers. I
Jj believe the teachers in the meeting were Bert Spahr, Rob
} Eshbach and Mrs. Miller again. And I do not believe I
] was in that meeting. But they met I believe with
y Me. Bonsell.
)  @: And forgive me, Dr. Peterman, I just want to make sure I
) understand you. You said early 2003. Did you mean iate
) 2003?
® | A: Whati meant was early in the 2003-2004 school year.
) Q: Fall?
} A: Fall. 1 would say in September, October. My years are
] different. My years fiscally end June 30th. My school
] year begins usually August or September so it is
] confusing.
} Q: l understand.
] A: Sure,
y @: You have indicated you weren’t present al that meeting?
] &: 1 don’t believe ] was present at that mecting. 1 was
} present at a meeting that was held in 2004 with
} Mr. Buckingham and I believe Mrs. Harkins and the other
. Page 30
| people that I have already said.
| @: That's fine. Again looking at 2003, your best
} recollection is that there was this meeting with
| teachers, and you weren't present?
A: Yes.
Q: Now again looking at 2003 and with my better
|} understanding of how you look at the school year, say
| the fall of 2003, do you recall Board meetings at which
the subject of the biology text or biology curriculum
came up? .

A: [am really trying to recall. There may have been some
instances where it was talked about, but it was more so
talked about at the spring of the 2004.1 think that —
to answer the question where it became more apparent was
as the — as we are going out of the 2003 year, toward
December, I think as this issue started to take life,
there was some talk between myself and Mrs. Spahr about
the concern that two of our biology teachers were
nontenured. And I know that Mrs. Spahr was checking
with PSEA to try to pet some advice for her younger
teachers.

So ] think there were several issues going on. We
were looking at textbooks in the fall of 2003.The
issue of Creationism which had arisen in March of 2003

was still present. And now we had a third issue coming

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up a3 we exit 2003 and start to go into the spring of @
2004,

We had the issue of, well, if they do want
Creationism taught, what do we do with cur nontenured
teachers who don’t want to break the current law?

If I could separate the three major issues that I
was looking at in this one aspect — and we were still
even though I raised the issues here, it was becoming
more apparent to me that perhaps, one, they were going
to change our curriculum, which didn't occur under my
tenure; and if they did change our curriculum, how were
we going to handle our nontenured teachers?

G@: Okay. And again, forgive me, 1 don’t wish to belabor
these points, but in your answer you made a number of
statements, and that’s exactly what | am trying to get
to.

You said as the issue began to take life as we
moved through December of 2003, you said Creationism was
still present as you saw it. And you had this concern
for the teachers.

What I am trying to understand, Dr. Peterman, is
what is actually happening during this period that is
leading you to make that sort of observation? In other
words, I see the memo. I know that that reflects in
some measure a discussion you had with Bert Spahr.

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We know there is a hiatus through the summer of
2003, and I understand how the school year works. We
get into the fall.

A: There is a meeting.

Q: There is a mecting?

A: That Mike Baksa holds with some of the science teachers
and I believe Alan Bonsell. And the issue is raised
again about Creationism.

Q: Let’s talk about that. You weren't at that meeting;
correct? , :

A: I] wasn't at the meeting. And all | know about the
meeting is briefly what Mrs. Spahr told me.

Q: Tell me what Mrs. Spahr told you.

A: Basically that the issue of Creationism was raised
again, and she felt that the meeting went well in that
Mr. Bonsell perhaps now understood the difference
between teaching the origin of life versus the origin of
species. And again, 1 can’t answer a lot of questions
because I was not at the meeting.

Q@: | understand that. And really all you are doing here it
is kind of like this memo, ] am just asking for your
best recollection of what Bert Spahr told you at this
meeting in 2003.

You have indicated that the Creationism issue was

raised again. Can you recall any specific statements

 

 

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Trudy Peterman
April 7, 2005

 

 

 

 

 

 

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}. she attributed to Alan Bonsell? 1) this issue.
2) A: No, don’t. It was just a general statement that the 2] If we look at that discussion, what is the issue
9] Creationism issue was raised again. (3) that you are talking about?
7 «=: Right. Okay. You said that Bert thought the meeting 4) A: You probably have to ask Larry Redding what he meant.
(5) went well? [5] But in my opinion, it was a brief discussion where Mike
(6) A: That perhaps Mr. Bonsell had achieved a new i} Baksa was extremely frustrated with the subject of
Mm understanding of what was basically taught in the 77) Creationism, and he was just expressing his frustration.
fe] Biology One curriculum. (8) And you would have to ask Mr. Baksa what he meant.
is}  @: And was she any more specific in that regard? Did she 19) But the thing that I recall about that
{19} say what she believed Mr. Bonsell had come into the [1c; Conversation was he said that Rich, who was Dr. Nilsen,
(1) meeting, what sort of understanding he had? [11} had different views too about Creationism. And the
Hz] A: No. [12] conversation led me to believe that Dr. Nilsen’s beliefs
113] @: Did she say a new understanding, a new and better [13] were akin to those of the current majority of the School
[14] understanding of what was actually taught, did she [14] Board.
(18 describe what she meant by that? [15] @: Let's focus on what Mike said because I'm trying to get
we) =A: Not that I recall. [16] a sense for this conversation. Mike is frustrated?
{17] Q@: You have offered a distinction between the origins of {17] At Yes.
[16] life and the origins of — fa) @: And] understand your answer means frustrated at the
[1] «= A: Of species. (19) issue of Creationism in the biology curriculum or
12] GQ: And it appears from your answer that that came up in (20) biology text; is that accurate, Dr. Peterman?
j21] this discussion with Bert Spahr and her recount of the [23] A: | would say he was just frustrated with the entire
2] meeting in the fall of 2003? i22) situation. His job as head of curriculum was to get
23} A: Yes. (23) textbooks to the teachers, to make sure that the
e@ G@: Give me your understanding of what Bert Spahr was (24) teachers had gone over the books.
, Ss] getting at there. (28) J think that we probably had reviewed the books
Page 34 Page 35
1) A: Not that |} want to put words in Mrs. Spahr’s mouth. | (} three or four for — at that time, we were beginning to
2] believe that what they were trying to establish again I] review the books.And what was occurring was we were
a} was that Evolution — that the way we taught Evolution 3] beginning to review the books, and he was just simply
i] was Evolution was a change over time.And we were (4) frustrated because he — you're going to have the ask
5] looking at how species could adapt, or perhaps how ) him. .
i] species became extinct, or through their adaptation many (3 In my opinion, he was frustrated not only with the
i different species could be created. (7) subject of religion in schools; he was frustrated with
(8) That is what they were in my opinion attempting to [at how many times are we going to have to look at this.
(9) get across to Mr. Bonsell. They were not looking for Is} And he was implying that the Superintendent perhaps had
1a) how the earth was created. They were not getting into (10) differing or unique views too about that issue.
at) the Christian-Judeo Genesis explanation of how life [14] G@: And] do understand the sense that you had in this
(ia began.That’s not a part of our science curriculum. {13} conversation, What I am trying to get at, Dr. Peterman,
(13]  Q: In that regard, did Bert Spahr indicate the concerns {13} is what Mike Baksa said that would give you that
(14) that Mr. Bonsell had? {14} impression.
1] A: I don’t recall specifically. 18] At He just simply said Rich has differing or unique views
[9] @: Is there anything cise you can recall that you learned {te} on this subject, too. That is all | can say about the
['7] from persons who attended this meeting about what 117] matter.
118) transpired at the meeting? t18]  @: Did he say what the views were?
(19) A: No. iq) «=A: No.
wo}  @: Back to that conversation with Larry — I believe it is (20)  @: You have referenced that that led you to conclude that
1) Larry Redding? (21) or to suppose that Rich Nilsen’s views were consistent
oo A: Redding. [2q with those of the Board, the majority of the Board?
123) Q: - and Mike Baksa in your office. 1 know from what your 231 A: Those are my views. Mr. Baksa did not say that. He
24) prior answer was that Larry Redding said you should give 24; simply made a statement that you don’t understand, Rich
i258) better advice or you owe your advice to Dr. Nilsen on 2s) has differing and unique views on this subject, too.
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Q: Okay. This subject is?
A: Creationism as it pertains to reviewing textbooks.
Q: Did he state the nature of Dr. Nilsen’s view?
| A: No, he did not.
| @: Was there any discussion of the nature of Board members’
| views?
| A: | think in that conversation, it was just again a brief
conversation about we're trying to get these books
adopted. Now Creationism had occurred. And that’s what

I recall.

You are trying to get answers from me that,
Patrick, I just don’t have.

Q: I understand that, Dr. Peterman. I am just trying to
understand how you could come away from the conversation
with the impression that, first of all, what sort of
understanding you had of Mike Baksa’s frustration.

I mean ! think everyone involved in this process
was frustrated at the ordinary administrative rigamarole
here. What I] am trying to do here is understand how you
come away from this conversation thinking that — what
substance you attributed to Mike Baksa’s frustration. I
take it now —

MR. ROTHSCHILD: You can finish, but I want to
object.

MR, GILLEN: Go ahead.

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| MR. ROTHSCHILD: I object to your characterization
) of the evidence. It lacks foundation.
} BY MR. GILLEN:
} @Q: That is what | am trying to get, Dr. Peterman. When you
| came away from this conversation, you had a sense that
) Mike is frustrated. I want to know what you thought the
] source of his frustration was and what he said that
] contributed to the impression which you plainly had for
| the meeting.
} A: The source of his frustration, one more time, was
} reviewing textbooks. His frustration was on the subject
] of Creationism. And it was very well known that my
] Views were that Creationism does not belong in the
} Biology One curriculum.
| And Larry Redding, when Mr. Baksa made the
] statement but you don’t understand, Rich has differing
] and unique views on this too, all Larry Redding said is
] Well, it is your job as the Assistant Superintendent of
schools to give him your input and the best advice you
can give. End of conversation.
}  @: And that’s what] am getting at.At any time, did Mike
} Baksa say the Board wants to teach Creationism?
] A: As] reeall that conversation, he was frustrated because
) he had had conversations with several Board members
} where yes, they wanted to teach Creationism.

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{t} GQ: Now what did Mike say about that; is that what he told &
(2] you?
fB) = A:.:«T believe that the issue — I don’t know how the

[4] conversation started. ] can only recollect — and] am
(5) going to say it one more time and hopefully we can move
[6] on; okay?
7
(8) get a straightforward answer, Dr. Peterman.
i) «36s A: |. am trying to do the best that I can.
{10] Q: E understand that.
(11) A: All right. But ] am not going to have words put in my
(12j
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Q: We will move on when I am done asking my questions and

mouth, I don’t remember how the conversation started,
but it was a brief conversation. We were all frustrated

[14) over the subject of textbooks and Creationism.
[15} Mr. Baksa made the following statement: You don’t
[8] understand, Rich has differing and unique views on this
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subject, too. Mr. Redding simply replied well, your job
as Assistant Superintendent of Schools is to give him
the best advice that you know how. And then I believe
we moved on to another topic.

MR, ROTHSCHILD: I object to the tone you are
taking with the witness, which is completely
unwarranted.

BY MR. GILLEN:
Q: Let me ask you this: Did Mike at any time during this

Page 40
[1] conversation to the extent you recall it indicate that
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the Board wanted to teach Creationism?
A: Yes.

4) @: How did he indicate that? /
5) A: He had indicated that by — | don't recall how the
[6] conversation started, but the conversation was about the

(7) reviewing and hopefully the eventual adoption of
(8)
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textbooks. And somewhere in there, Creationism was
mentioned. I don't remember exactly what he said.
But I mean since March of 2003, there had been
[tt} conversations atmong alf of the administrators, cven at
[121 the monthly administrative meetings, about this issue.
113} And I don’t recall those specific conversations. But it
[14} Was an issue. It was ah issue that started in the
{15} spring of 2003 and continued to this day.
6} Q: Just stay focused on this meeting with Larry Redding and
117, Mike Baksa. Is there anything you recall about what he
{18} said specifically?
{19} A: No.
20) G: You have mentioned some meetings, administrative
j21]) meetings in 2003?
2) A: There were monthly administrative meetings throughout my
23}
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two years at Dover.
Q: Can you tell me as you sit here today, do you recall the
discussion of Creationism in biology coming up in any of

 

 

 

 

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wil 7, 2005

 

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I don't remember specific dates, but there wasn’t
a week that went by that this issue was really not
discussed unless we were on break.

Q: And again let’s focus between January and June. And can
you recall the substance of any of these communications
with any Board member? Did you speak with any Board
member?

A: I spoke in the spring with Mr. Buckingham at some of
these meetings.

GQ: Okay. These were the meetings that we have addressed in
some measure earlier?

A: Yes.

Q: Apart from that, did you speak with any Board member
from January through June of 2004 regarding the biology
text or biology curriculum?

A: The only other Board member that | spoke to was Casey
Brown because Mrs. Brown vehemently disagreed with the
substance of the majority of the current School Board
members. And in the June meeting, as I recall, she read
a statement of how she strongly disagreed with the
teaching of Creationism in the public schools.

@: And you indicate you spoke with Mrs. Brown?

A: Yes. | believe it was a brief phone conversation, And
her views were very well known.

Q: What was the substance of your telephone conversation

Page 46
with Casey Brown?

A: Just that, you know, she disagreed with the stance of
the current Board, and I appreciated her views because J
agreed with her.

Q@: Again looking at the period of January through June of
2004, which is the Board meetings we have addressed a
little, any other conversations with any other Board
members about the biology text or biology curriculum?

A: Not that I recall.

Q: You have indicated there was some ongoing discussion
with teachers.Can you recail any specifics of those
discussions?

A: Ms. Prahl was very concerned about her tenure.

Mr. Eshbach was very concerned about his tenure,
Mr. Eshbach's father is Reverend Eshbach. He is a
faculty member at Susquehanna University. He also
addressed the Board on certain occasions.

Mr. Eshbach — Reverend Eshbach asked to meet with
me.! met with him. He supplied me with certain pieces
of literature written by experts in the field_I read
that literature and thanked him very much for the
information.

Other conversation, parents, you know —

Q: Let's keep that out of it. Just stick with the
teachers.

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A: Teachers?

Q: Yes.

A: That was the conversation. And Mrs. Spahr, being the
Department head and being there as Jong as she had, was

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very protective of her teachers. This was an area of
concern.

Mrs. Spahr and Mr. Eshbach and Mrs. Miller
thoroughly researched this issue in terms of law, also
consulted with the PSEA, and had reams of paper
documenting this. They shared that with me.And that
was my conversation with the teachers.

There were several areas. They were frustrated
with the issue. By the spring and end of the school
year 2004 year, they were tired of reviewing the same
textbooks. They were frustrated with giving the same
information to the School Board only to be told to
review it one more time. And they were concerned about
tenure issues.

And there was an overwhelming concern that would
this Schoo] Board change the current School Board
curriculum.

Q: Okay. You have mentioned the tenure thing and the legal
research?

A: ‘Yes. eo
Q: What did the legal research relate to specifically?

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A: It related to all of the court cases leading up to the
Supreme Court 1987 decision, which I have already
mentioned. And some of the research also went back.
Intelligent Design Theory didn’t come into those
particular terminologies until the early 1990's.

It was basically Science Creation Theory, and then
this new terminology came in. That is all I recall.

Q: Again looking at this period January through June, 2004
and as a marker June is the Board meetings you have
referenced, did you have any conversations with Dr.

Nilsen about this issue?

A: Not that I recall.

Q: How about Mike Baksa? .

A: Mike and ] would have conversations about setting up
meetings. We would have conversations about looking at
our current curriculum and looking at standards. Dover
touted itself as being a standards driven School
District. Creationism is not one of the standards.

However, Evolution is.

Q: Do you recall anything Mike said to you as it related to
the biology curriculum and state standards?

A: Just that the current curriculum when 1 was the ©
Principal was in line with state standards.

QG: Did he ever teil you the Board wanted to teach
Creationism?

 

 

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MR. ROTHSCHILD: During this specific time?
BY MR. GILLEN:

Q: Yes, during this period of January through June of 2004.

A: I don’t recall any specific comments or anything, but it
was general knowledge that the Board wanted to teach
Creationism.

Q: When you say it was general knowledge, what was your
basis for that belief that it was general knowledge the
Board wanted to teach Creationism?

A: From this memo on the terms that were used from April
1st, 2003 until the time I left were Creationism. I
only recail Intelligent Design Theory being brought into
the conversation in July, 2004 near the time | was
exiting the District.

Q: And complete that thought for me, please, Dr. Peterman.
What is it that is leading you to believe -- you have
got this conversation. 1 understand that. You have got
the memorandum, forgive me, Plaintiff Exhibit 9. That
is a specific conversation, and I understand that.

Anything else | mean —

A: Comments made that I don’t remember specifically at
certain Board meetings. I believe at the May Board
meeting, Mr. Buckingham said if you don’t like the way
it is here, he said to people who were not born in
America, then you can go back to where you came from.

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Then in the June meeting, he apologized for those
comments because Dover has many different nationalities.
And at | believe the June Board meeting, one of our
particular students of the Hindu faith got up and said
that he was insulted by what Mr, Buckingham had said.

Q@: Okay. You have said Mr. Buckingham made a comment about
if you don’t like it in America, go back to your country
in effect?

A: Yes.

Q: Is it your understanding that comment was made in May of
2004?

A: It was made at some time in the spring of 2004. It
could have been the April meeting. It could have been
at the May meeting. But I do know that later on, |
believe at either the May or June Board meeting, Mr.
Buckingham read a statement that he apologized. He did
not mean Co insult anybody of foreign nationality.

Q: Is it your understanding that that comment was made with
reference to the biology text?

A: That comment was not made — Mr. Buckingham at the

as specifically, that if you weren't 2 person who
espoused our Christian views, if you came from another
country, you could just g0 back to where you came from.

Q: That is what] am trying to understand; how this comment
was made and why you seem to link it to the biology text
and biology curriculum.

A: Aslrecall,Mr. Buckingham made the comments — I think
he read an opening statement, and those comments were in
(9] there. 1 also recall at one of the spring Board
19]
4]
(12)
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fla}
i15]
{16]
17]
[18]

meetings, a Professor of Philosophy from the community
got up and spoke. And I believe this was at the same
time Mr. Buckingham's comments came out.

And ail of these issues involved Creationism, are
we losing cur America, so on and so forth.

G: Again, let me just try and understand you. Is it your
recollection today that the biology textbook issue was
discussed in the May Board meetings?

A: J honestly can’t recall whether it was discussed or not

fg) about the textbooks. I do know issues of morality in

 

[20) America were discussed.
21] @: You have indicated that — Jet me ask you this: Again
[22] in that spring period, do you recall any Board members
(23) addressing the biclogy text or biology curriculum with
j2a) you?
(25) A: One on one?
Page 52
(] Q: Yes.
2] A: No.
ss] «©6.@:: At Board meetings?

4) A: At Board meetings at the June meeting, yes. The whole
5] June meeting was about the biclogy textbooks. People

fe) from the community spoke. Bert Spahr spoke.I spoke.

m™ @: Okay. Let me ask you with respect to the June meetings,
18] do you know how the issue of the biology text came up at

j9] those meetings?
io) +A: There was adoption of science textbooks, not only
[11] biology books. And the teachers wanted to know why the
[12] biology books were not being adopted. They were also
(13) fighting for the adoption of the biology books.
(14) @: So was it an agenda item, or did someone come to the
(18) podium and bring it up?
{6} A: People spoke from the podium. It was also on the agenda
(17) of the June meeting if you check it There was adoption
[18] I believe of family and consumer science books, of

jig] chemistry books. There were other books being adopted.

 

 

 

 

[20] go} =—-« So the topic of textbook adoption was very much
4] meetings when he would speak wouid put in his views (21) alive at the June meeting.
about Christianity and how he viewed morals. And at 22]  G: You indicated that you were in attendance. Bert Spahr
23) mes, it was very difficult to separate what he was [23] spoke. Who else can you recall being at that meeting
24) talking about. (24) that spoke from the public?
(25) But did i take that as specifically — | took it 2s) A: Mrs. Buckingham spoke at that meeting.
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|} Q: Okay.
} A: Ebelieve Reverend Eshbach spoke at that meeting. I
| spoke at that meeting.
)  @: Had you discussed with others prior to coming to that
} meeting the idea of showing up for the purpose of
addressing this issue?
} A: It was very well known that that issue was going to be
talked about at that Board meeting because it was about
adoption of textbooks, and all the science books were
being adopted except the biology textbocks.

And a former Board member had also spoken in May.
Mrs, Callahan attended several Board meetings and wanted
to know why the biology textbooks were not adopted
because the books that they had, we were not using
because they did not align with our curriculum. And so
she wanted children to have a textbook.

It was a sore subject with her because being a
former Board member, she wanted to make sure that every
child had adequate textbooks, had adequate equipment to
receive an education. She did not believe that the
current state of biology in Dover was adequate. We
needed textbooks. We had not had a textbook in quite a
| while.

When they had adopted the textbook thar was
supposedly being used, right after it was adopted, the

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state came in with the science standards, and it didn’t
meet these standards.And that sometimes happens.

Q: You have some recollection of statements that
Mr. Buckingham made?

A: Yes.

Q: How about the other Board members, do you recall anyone
else saying anything at that first meeting in June?

A: | recal) Casey Brown reading a statement where she
objected to bringing religion into the public schools.

Q@: Did you have an understanding as to what she was
referencing when she discussed bringing religion into
the public schools?

A: Absolutely. She went down over a legal discussion. She
cited cases, She stated court decisions.

Q: Forgive me. My question was imprecise. Did you
understand her to be addressing this notion of the
biology curriculum?

A: She was addressing Creationism and why it didn’t belong
in public schools.

@: Do you remember any of the other Board members saying
anything?

A: Mr. Bonsell spoke, but J don’t recall anything
specifically.

Q: Do you recall the term Intelligent Design coming up at

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ti) A: No,I do not. ®

2} G@: Were you familiar with Intelligent Design Theory in the
(3) spring, in June of 2004?
4] &; The first that I heard Intelligent Design mentioned was
[5] in July of 2004.
is} @: Did you go to both meetings in June, can you recall,
(7 June of 2004?
i} «= A: As I recall, yes, I did.
} @: Do you have a recollection concerning whether this issue
{10]) was discussed at both meetings?
Hi} A: I don’t recall specifically.
(tq @:- If we just look at — take June meetings together and
113] take the biology text — your biology text and biology
(t4] Curriculum is the issues, do you recall any discussion
(18; Of Pandas at the June meeting, the text Of Pandas and

 

[18] People?

117] A: Not specifically. ] don’t recall that.

ia) =: Do you recall Mr. Buckingham saying anything about other
[19] texts at the School Board meetings?

zo} «©=0 MR. ROTHSCHILD: The June meetings?

[2t] BY MR. GILLEN:

[22] Q: Yes.

a] MAR. ROTHSCHILD: Can | get clarification? Do you

(24) mean other specific texts?

BY MR. GILLEN:

 

(25)
Page 56
i) G: Yes. Other texts. Was there a discussion of other
[2) texts?
13]
14] MAR. ROTHSCHILD: I want a clarification here.

{5} Other texts meaning the prospect of other texts, or
[6] Pandas has a name, another specific named text?
BY MA. GILLEN:

FF
(«= @: Other alternative biology texts.
fs] MR. ROTHSCHILD: Objection.
io) «= A: Not that I recall.
uy BY MR. GILLEN:
12a = @: How about do you recall him discussing the

[3] characteristics of the Miller and Levin text and what he

fia] thought was unsatisfactory? Did he make any comments
{15) about the text?

(1) «A: Mr. Buckingham — and] don't recall at that specific
[17] meeting — had gone through and written some comments
[18} down. What those comments were, I don’t recall at this

(t9] time. But it was his analysis of the textbooks and his

[20] analysis alone.

fq) «=: And I appreciate that.] am trying to get a sense

fez} there’s obviously an exchange taking place here at these
[23] Meetings which you have recounted, people getting up

i24} expressing concerns and then some comments by the Board.

 

 

 

 

this meeting? (2) lam trying to get a sense for what Board members
ge 53 - Page 56 (16) Min-U-Script® Filius & McLucas Reporting Service, Inc.
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@ — how they responded. And I know that you recall some
[2] statements attributed to Mr. Buckingham?

i]s A Yes.
4} @: You have indicated Casey Brown?
is} 0s A: Yes.

is) ##&: And] am trying to get a sense for the substance of
[7] these exchanges from now.At this point from the
(@) standpoint of the Board members, were they — people are
{9] getting up and raising concerns.
[to] ~—« Is there any response back to the effect of hey, I
(1) don’t think the text is the ideal text at these Board
[12] meetings in June of 2004?
v3] As As I recall, ] can’t remember any specific thing about
(14) any specific text. The comments were basically over
(15) Creationism and whether it should be taught in the
[16} public schools.
17 «= The comments were about — I believe in some of
fie} the textbooks, there was a disclaimer which said there
(1g) are other alternate theories out there, Creationism
(29) being one of them. In fact, 1 believe that statement is
f2] made in the Levin and Miller book.
22} But! don’t recall any specific people from the —
[23] people from the public who were getting up were
basically talking about their views of whether they
believed religion should be taught in public schools or
Page 58
not. That is what the debate was about.
Long ago, the Levin Miller book even though it may
have started some of this discussion, the books were
sort of like put on a back burner, and the debate was no

[t

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[al

i
i] longer over gelting a biology book. The debate became
i] whether we should teach Creationism in the public

m schools.
iB} Q: I do understand that.And that's just the reason for my

I) question. You got up and said there’s people getting up
[30] saying we don't want Creationism taught in biology
[tt] class; we don’t want religion taught in schools?
(12) A: Yes.
yg) Q: And let me just ask you then to be more specific if I
j14) can. Did the Board ever say we think you can teach
[15] Creationism, and we think it is legal?
[16] MR. ROTHSCHILD: Object to the form.
17] At Idon’t recall any specific statement. But from
('4) Mr. Buckingham’s statements, it was very clear that he
(19) felt that Creationism should be taught in school, He
(20) did make — there was some discussion — brief
1] discussion of the Constitution, and I don't recall the
specific comments, but Mr. Buckingham basically alluded
3) to the fact that there was nothing in the constitution
[24] that recognized separation of church and state.
28) And from that,] took personally — I don't know

 

 

‘ Trudy Peterman
April 7, 2005

 

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(} what other people took. But I took personally that he
(2) felt that because there was nothing in his opinion in
3} the Constitution that addressed separation of church
[4] Versus state, that it was okay to teach religions in
ts} schools.
ie) BY MA. GILLEN:
fi «© @: And if we get to the religion that is at issue here, you
[8 Understood it to mean Creationism; is that correct?
p <A: Yes.
jo: «= G@::-] Know this is a little confusing. We have talked about
[tt] June Board meetings where the issue came up, and you
(12) were in attendance and made some statements. You have
(ia, referenced a meeting in your prior answers with Mike
(14) Baksa.
is} Were you present at that meeting I think you said
[16] in the spring?
[17] A: With Mr. Cunningham, Sheila, Mrs. Spahr, Mrs. Miller and
413] Mr. Eshbach.
ig] MA. ROTHSCHILD: You said Cunningharn. Did you

[20] Inean —
[21] A: Buckingham.
[22] BY MA. GILLEN:

3)  @: I want to understand that meeting. Mike Baksa was

(24) present. Do you recall him saying anything?

[25} A: We basically met one more time. He started the meeting

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[i] to review the textbooks and to hear the additional
[2 concerns of Mr. Buckingham.That’s when Mr. Buckingham

brought out his analysis of the Levin & Miller book.

ft} And then he had a box of other books that he had

i) been reviewing. And then he said that he had done some

is} calling around on his own, locking at the books that

[7] were in use in York County and maybe some Christian and

3

(8) parochial schools.

Pp] Q: Okay. What did Mike Baksa say in response to these
110) issues raised by Mr. Buckingham; can you recall?
11) At I don't recall after that that he did rouch talking. The
i1@] talking then was done by Mrs. Miller, Mr. Eshbach and

11a) Mrs. Spahr. They basically reviewed alt of the books
|t4) that they had reviewed.
1g They reviewed one more time the approved science
i] textbook curriculum, and one more time Mrs. Spahr laid
(17] out the fact that the Jaw stated that there was a
[18] separation of church and state in the 1987 law case.
1) G: Do you recall anything that Mr. Buckingham said in
[20] response to these issues raised?
21) A: Mr.Buckingham said he wanted the Science Departmentto
23] watch a video. The Science Department did so. They did
\z3] sO on inservice day. I came up and saw part of it.
124] As E recollect, Dr. Miller was in the video. It
(25) was from some think tank in Seattle.

 

 

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I Q@: Okay.
} A: That is all ] remember.
] G: If we look at anything else Mr. Buckingham said in this
] Meeting we arc discussing now with Mike Baksa,
] Mr. Buckingham, Sheila Harkins and the teachers, the
] have raised these concerns, and he said look, I have got
] these sources I would like you to look at.
} Can you recall anything else he said at that
] Meeting.
|  &: No,I don’t realty recall a lot about what he said.]
| do remember the term Creationism being used in that
| meeting. Whether it was used by Mr. Buckingham or Mrs.
} Spahr or one of the other teachers, | don’t recall, But
] 1 do recail the term Creationism being used in that
| meeting.
}  @: Do you recall Mr. Buckingham using the term Intelligent
) Design at that meeting?
j A: No, I do not.
| @: Do you have a definite recollection it wasn't used or it
| is hard to —
} A: The first time that I ever heard the term Intelligent
} Design was in July of 2004.
] Q: So let me ask you, again, I just want to make sure I
} understand you. We are talking about this meeting in
} the spring.
Page 62
} Do you have a definite recollection that term
| Wasn't used?
1 MA. ROTHSCHILD: Objection, asked and answered.
} A: I don't think the term was used in that meeting because
} _I never heard the term Intelligent Design until July of
| 2004.
| BY MR. GILLEN:
| @: When he referenced the sources that he wanted the
1 teachers to look at, do you have any recollection of how
| he described those sources, here are some things to look
| at?
| A: He simply said that he had been in contact with people
| who operated a think tank in Seattle. He wanted the
} teachers to view a video.
|  @: He didn’t say what was on the video, or did he describe
I

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[t] A: Yes.

{a @: Did you attend any School Board meetings in July?
fy} A: No, 1 was not permitted to.

4) @: I think we have probably covered it all, but I just as
{5) we sit here and we look at this issue of the biology

[6] text and to some extent the biology curriculum, is there
f) anything else you recall over your tenure at Dover Area
ta] School District as the Principal that touches on those

[s] issues, the biology text, the biology curriculum, the

fio] book Of Pandas?
(tt) «=A: Yes.
(1243 «=: Tell me.

A: When I first started in Dover in July — 1 believe it
was July 29th of 2002 — my first week on the job, a
mural was missing from the Science Department. And it

(13)
{14}
15)
{16}
(17)
(18)

had been donated to the school prior to my tenure by an
art student.
The student’s senior project had been to design an

(19) Evolution mural, and he had like apes poing into man.
[20}
[21]
[22]
[23]
(24)
[25]

And it was hung in one of the science teacher’s rooms.
Mrs. Spahr came to myself and Larry Redding in August
and said the mural was missing.

I had never seen the mural so | didn't know what
it was. So Mr. Redding conducted an investigation. And
it was found at that tume the Director of Buildings and

Page 64
Grounds, whose name was Mr. Larry Reeser, destroyed the

=

[et Toural.

B} And Mr, Redding wrote a letter of reprimand to

4} Mr. Reeser telling him that he had destroyed a donated
5] piece of artwork that had been donated to the school,
[6] that was the property of the school, and that he had no
7 right to destroy this mural. And Mr. Reeser said yes,

la] he did because it went against his Christian views.

 . During the spring of 2004, 1 don’t know at what
meeting it was, Mr. Buckingham read a statement, and
there was some discussion about that mural, how
offensive it was and how could it be hung in a science
classroom.And it was explained to him by Bert Spahr
that that was one child's interpretation of Evolution.
And it was not a mural that was endorsed by the Science

 

 

 

 

it? (16) Department, but they did accept it as a gift, as they
| A: In brief, he simply said that the video shot holes in [17] would because they had other student’s senior projects
| Darwin's Theory. {ier displayed.
| @: Anything else you recall from this meeting we are 4a} And in my opinion, it seemed that somehow that
| discussing now with yourself? f20) mural got twisted and caught up in this whole
1 A: No. 21] discussion. And I think my personal opinion is that
Q@: Were there other meetings afterwards? Do you know if 22] perhaps some of the School Board members thought that
there were any follow-ups to this specific meeting? (23) that’s what was being taught in our science classes.
A: Not that I recall, (24) And it wasn't being taught at ail.
Q: So you left Dover in July | think you have told us? rs)  @: Let me ask about that. You do see connection. 1 have a
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sense for why.

Do you recall what Mr. Buckingham said about the
mural?

A: Patrick, I don't recall specifically. But there was
either something said in a spring Board mecting, or
there was something said in that meeting in the spring
that Mr. Baksa had with me and the three science
teachers, and Mrs. Harkins was there, that he found that
tremendously offensive.And if that was representative
of what was being taught in science classes, he found it
offensive.

Q: You recall Mr. Buckingham saying that?

A: Yeah.

Q@: Who else was present?

A; If it happened at a Board meeting, there would be many
people present. If it happened at the meeting with Mr.
Baksa, those people that I previously mentioned would
have been there.

Q: Apart from this sense you have that he found it
offensive, is there anything else you recall him saying
about the mural?

A: No.That is pretty much what I recall.

Q: You say that Mr. Reeser was disciplined or reprimanded?

A: He received a Ictter.

G@: Do you know if the Board had a role in that disciplinary

Pago 66
action?
A: No, 1] doen't, Because it sort of like was happening when
I was coming in. Because [ had never seen the mural, I
didn’t even know what ] was looking for. So Mr. Redding

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(1) and gotten it. He didn’t want it to be destroyed. It
[2] was something he had spent a lot of time on.
(3)
i]
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Q: Yes. Apart from Mr. Buckingham’s comments, do you
remember any comments by other Board members about that
mural?

A: No, I do not.

Q: Just give me a sense for what is your last course work
you did in science.

A: Last course work I did in science? In high school, 1
took biology, microbiology. In college, [ took Biology
1, Biology 2. I took Physics 1, Physics 2.

MR. ROTHSCHILD: IJ think she has got us beat,

Patrick.

A: In my avocation, ] am a wolf researcher. ] belong to

Defenders of Wildlife.1 study and 1] went on a research

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(15)
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i22]
[23]
(24) Just in terms of — the subject matter here is

(25) Evolutionary Theory, Intelligent Design Theory, although

study to Yellowstone National Park because I was
interested — they had one of the first wolf rescues in
the United States.

They brought in the Canadian wolves.And ] wanted
to see wolves in the wild because ] had read about it
for years and had been fascinated with it.

BY MR. GILLEN:
Q: My question was broad. I will try and save you time.

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(1) some debate that.
3 What education do you have that relates to that
I} portion of biology curriculum, the Theory of Evolution?
it~ A: Basically, 1 studied it in high school. 1 studied it in

 

 

 

 

{] handled it. is} College. And when I became the Principal of Dover and
( «© @: Do you recall any reaction on the part of anyone to is} it became an issue, I read up on it.
™ Mr. Buckingham's statements about the mural? |  G@: What did you do to read up on it?
i) «A: No. I don’t recall. fa} «= As:SIt is very hard to pet away from this. Everybody knows
]  : You had.a sense I think, an opinion that perhaps the (g] that 1 was a Principal of Dover. This case has made
[3q] rural is in some way related to what the Board thought [19] national news. So I get people from all over the
{11] was being taught. [11] country, my cousin’s families sending me articles saying
12) Make that more specific if you can. What is the 12] your last School District is famous.
{13} basis for that sense? 13} «= One of my friends was in a doctor’s office, and
aj At: I think that as I recall Mr. Buckingham’s statement, he (14) she discovered this magazine Testing Darwin. She sent
15] just attributed that mural to what was being taught in [15] it to me. There’s a pretty fascinating article in here
[16] our science classes.And Mrs. Spahr tried to explain [16] about Avida and their take on Intelligent Design.
(17) that that is not being taught at all. It was one [17]  Avida is a software program which is just
113] child’s view of Evolution. [18] fascinating. They basically create computer organisms
(19) And because I never saw the mural, from my [19] that have 19 — that go through 19 mutations. If they
(2) understanding of everybody that saw it, it was a [20] take away one of the mutations, it does not complete the
1) beautiful piece of artwork. The child really put his [21] cycle of the mathematical equation that it is working.
heart and soul into it. (24) It is absolutely fascinating.
23] + Later on, I guess when the child who was a 23] MR. ROTHSCHILD: Do you want her to identify the
(24) graduate found out that it had been destroyed, he said j24) article?
[25] all he had to do was call him, and he would have come 125] BY MR. GILLEN:
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udy Peterman
»ril 7, 2005

 

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BY MB. GILLEN:

Q: Yes. It is plain ] can see that you have done some
reading after schoo! in the subject for reasons we can
all understand.

How about Intelligent Design Theory, have you ever
looked into that?

A: Intelligent Design Theory, again, is creation theory.
It basically goes back to the 18th century theologian
William Paicy.

Q@: Let me try and save you and us time. Just in terms of
let’s look at it from the "90's, are you acquainted with
any scientists that are proponents of intelligent
Designer Theory?

A: Not specific, but 1 do know that Intelligent Design
Theory is a theory where there has to be an intelligent
designer because life is too complicated just to have
evolved on its own through billions of years.

Q@: Have you read any text that deals with Intelligent
Design Theory?

A: No. have not read Of Pandas and People.

Q: That is fine. Anything else, Darwin's Black Box for
example, have you read that text?

A: No.
Q: While you were the Principal at Dover Area High School,

were you ever directed to instruct the teachers to teach
Page 70

Intelligent Design?

A: No.

Q: You have referenced this concern about the nontenured
teachers. I think you said Leslie Prahl and Bob
Eshbach?

A: Yes.

@: When you raised those concerns, did you ever receive a
response from Dr. Nilsen?

A: No.

Q: Ever receive a response from Mike Baksa?

A: No.
Q: Did you bring those concerns to the attention of the

Board? .

A: Yes, I did. i believe in the June Board meeting when 1
spoke, I basically raised those concerns. I raised the
concerns of what theory of Creationism are we going to
teach, and are the science teachers qualified to teach
Creationism since they are just certified in biology.

MR. GILLEN: J want to take a brief break, Eric, I
am finishing up here.

MR. ROTHSCHILD: Okay.

(A Tecess was taken}
AFTER RECESS
BY MA. GILLEN:

Q@: Dr. Peterman, ] am getting close to ending up here. If

Tammy Kitzmiller, et al. v.
Dover Area School District, et al.

 

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you direct your attention back to Plaintiffs Exhibit 9, ©
which is the memorandum that you produced on April Ist
2003?

A: Yes.

Q@: Again, ] want to make sure ] understand where you are
coming from on that. I think you told Mr. Rothschild
earlier you hadn’t spoken with Mike Baksa prior to
preparing this memo?

A: Yes.

Q: You were relying on Bert Spahr's recount to you. Let me
ask you: Did Bert use the term Creationism?

A: Yes,

Q: Did she say that Mr. Baksa had used the term
Creationism?

A: Yes.

Q: What did she say Mr. Baksa had said?

A: Basically, that he had had a meeting with Mr, Alan
Bonsell, and Mr. Bonsell said that he wanted Creationism
taught when Evolution was taught, and he wanted fifty
percent of the topic of Evolution to be Creationism.

Q: This memo was dated April 1st, 2603?

A: Yes.

Q: Did any Board member approach you and direct the
teaching of Creationism? @

A: No, sir.

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Q: If you Jook at the second paragraph of that memo, the
second sentence says I advised him to continue to
mention that Creationism is another alternative theory
of Evolution. .

Can you recall what advice you gave Bert Spahy, or
who was them referring to?

A: The teachers and Mrs. Spahr. Mrs. Spahr explained to me
that they had always just stated the sentence, and it
was also in our current biology book that Creationism is
another alternate theory of Evolution.

And I told her to continue with that practice
because it had been the practice prior to my tenure.

Q@: Then you go on Jater on in the memo to say there are
questions that must be answered prior to Creationism
being taught as fifty percent of the Evolution
curriculum. In the public school arena, Creationism
must always be mentioned as an alternative theory, but
public school teachers are teachers of content area and
not to be perceived as teachers of religious
instruction.

A: Yes.

Q: Looking at the memo, I understand I think what you were
getting at there. But ] would like to get a better
sense for the advice that you gave the teachers and why
you thought that advice was proper.

 

ge 69 - Page 72 (20)

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Dover Area School District, et al. April 7, 2005
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A: The advice I gave the teachers and Mrs. Spahr was the
following: Continue to state the sentence that
Creationism is an alternate theory of Evolution.The
textbook at the time also mentioned it. There was one
sentence Creationism is an alternate theory.

I told them not to get into any discussions of
religion as we did not want to be in violation of the
Supreme Court case of 1987.And then ] told them that I
would await further direction from the Central Office.

Q: I just want to make sure I] understand you. I take it
that you understood the instructions you gave your
teachers to be instructions to pursue a course of action
you believed was legal?

A: That's the course of action that had always been taken
in Dover.And it is legal to my knowledge to state that
there are other theories of Evolution, Creationism being
one of them.

Q: Did any of your teachers get back to you with respect to
those instructions?

A: Mrs. Spahr basically said she would tell them to do so.
And that’s what they had always done. lt wasn'ta
really big deal to them.That’s what they had always

done.
Q: Apart from — give me a better sense. Exactly what did

Mrs. Spahr tell you to the extent you can recall it-

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about how Creationism was referenced in the classroom?

A: There was always a statement made by the teacher that
there were other theories, Creationism being one of
them, to Evolution. And there was a sentence in the
textbook, and that was it.

@: Did she tell you or did you discuss the way in which the
text referenced other theories?

A: I think it was always the practice in Dover to tell the
students in Biology One that there were other theories,
and that Darwinism was just one theory.

G: As we sit here today, do you have an understanding
concerning the impact that the biology curriculum change
has on classroom instruction during the biology classes
dealing with Evolution in the Dover High School?

MR. ROTHSCHILD: Objection, lack of foundation.

She is not at the school.
BY MR. GILLEN:

Q: That is why I said do you have an understanding.

MR. ROTHSCHILD: Objection.

A: I don’t feel that 1 can adequately answer that because
during my tenure, we did teach the approved biology
curriculum and the state standards.And when the School
Board changed the curriculum, | was not a part of that.

I was out of the District.
BY MA. GILLEN;

 

 

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Q: That is fine. I just wanted to make sure of that. Have
you spoken with anyone in preparation for your
deposition today?

A: When Mr. Rothschild telephoned me, I asked him if he
could send me a copy of my memo. ] said ¥ recall
writing one, but I don’t have a copy of it.I said 1
had left everything there.

And then J recail asking him what if I didn’t want
to come, and he said there are two kinds of subpoenas,
the kind that the Policeman shows up at your door, or
the kind that is very friendly. I said [ would rather
take the friendly one.

@: Looking at this memo Exhibit 9, you highlighted a number
of questions. I just want to note did anyone ever get
back to you with answers to those specific questions?

A: No. Because even at the June, 2004 Board meeting 1 was
sdll asking those same questions.

Q@: You have referenced a couple of things, some prior
litigation with the Schoo] Board and then some conduct
at School Board meetings. ] want to ask you a few
questions about that.

Give me, if you will, how long have you been in
education?

A: 25 years. You can still look this good and this young
and be in education 25 years.

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Q: | am happy for you.
MR. ROTHSCHILD: You zo, girl!
BY MR. GILLEN:

Q: | think it is a life that would give a lot of pleasure
and make for a long and satisfying one. Let’s see. How
can we do this?

Well, just give me, if you will a sketch, of how
you starfed out and what your path was.

A: I started out as an English/Latin teacher. [ taught
basically English for fourteen years in the public
schools.

Q: Excuse me.! don't want to cut you off, but 1 do want
to accelerate this so ] don’t waste your time.

Fourteen years in the same school?

A: No. In a variety of public schools. And then I became
an administrator. I have been a high school principal
of three comprehensive high schools and a vo-tech
school. And currently, [ am an Assistant
Superintendent.

Q: Just to give me a sense, fourteen years and how many
different schools?

A: ] was in my hometown School District Altoona,lam going
to say three or four. J don’t have any curriculum vitae
in front of me.

@: That is fine. I understand. There those 14 years of

 

 

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sudy Peterman
pril 7, 2005

 

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; these different schoois, were you engaged in any

| litigation?

| A: No.

| : Did you file any grievances?

| A: No,

| @: While employed there?

| #&: No.

| @: Were any grievances filed against you?

] A; As a teacher, none.

} @: How about as a peer?

) A: Asa principal?

| @: No,iam just looking — forgive me.

| A: No.

} Gr: In those 14 years, essentially 1 am trying to get a
} sense for whether there was litigation or complaints

| brought to the attention of the administration, your

| superiors, during those years?

|  &: No.

} @: You indicated that you became an administrator. When
] did you first enter the ranks of administration?

| A: | became an administrator in 1996.

| Q: Where was your first post as an administrator?

| A: I was a Principal for three years at Cambria Heights in
} Patton, Pennsylvania.

) @: After that?

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| A: After that, | was Principal for four years at the
| Indiana County fechnology Center in Indiana,
} Pennsylvania.
| @: After that?
} A: Let me see. After that, ] went to Virginia, and I was
| Principal for one year in the Fauquier County Public
| Schools. That is in Warrington, Virginia.
| @: Then after Virginia?
; At PE spent two years at Dover. And now I am in my current
} position.
{ Q: Where is that?
| A: Johnstown, Pennsylvania.
Q: If we look at your three years as Principal in Cambria,
| PA, was there any litigation that came out of that?
No.
: How about were there grievances that you filed?
: I didn’t file any grievances.
: Were there any grievances filed against you?
One. ,
: What was the nature of that?
: My physical education teacher kept on wearing revealing

rPOPrPrOPO >

tops.
Q: What was the resolution?
A: The resolution was she does not wear the tops anymore.
Q: Independent County, four years of Principal there?

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al. v.

Dover Area School District, et al.

 

i; ~=—sAs No grievances, no litigation.
(4 @: No grievances against you?
By) A: No.
4) @: How about one year in Fauquier?
i] A: Yes, 1 did file a lawsuit against the Fauquier County
(8) Public Schools.
(]  @; Is that che moid suit you referenced?
i} «©6 A: That was the mold issue. And that never came to
(9) fruition. It was handled by a mediator, Federal Fudge
[10] Robert Merhige, who just recently passed away.A very
fii4j good man basically.
ftz] GQ: That is fine.
(13) A: It was nothing.
4) G@: Was the suit resolved?
7s) A: Yes, it went through mediation.
ve) @: What about your time at Dover, did that result in
[17 litigation?
(13) 0A: No.
{1a} «9G: Were there any grievances filed against you?

21} football coach.! didn’t recommend — I only

(23) So what was the use? I didn't want to hurt the
a) children. We needed a football coach.
25] Q: Is this the football coach who had the DUI?

(1) A: Yes.

(4) — they opened the position, of which he could apply

8) for. There weren't that many applicants.

{6} I did recommend him only because there was another
7) coach who had a DUI, and they didn’t do anything to him.

ts filed a grievance against you for that?
a0 At Yes. And then he withdrew it.

iz} Dover?
£33] A: No.

[15] litigation or grievances?

(ies) A: At Dover?

(77 @: Yes.

18} «= At J would say my relationship with Dr. Nilsen at times
{19} became testy, and ] would bring in Mr, O'Donnell, who
(20) was the Act 93 chair and represented the administrators.
21} He at times would meet with me and Dr. Nilsen, but !

[22] never threatened any lawsuit.

{23} I sirmply at times would tell Dr. Nilsen 1 would be

{24} going to Mr. O’Donneil to voice my concerns.

fst @: Mr. O'Donnell's first name?

 

 

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oy =A: One, and then it was withdrawn. And that was over the

a] recommended him, and the School Board wouldn’t hire him.

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2] @: You wouldn’t recommend him for his position as coach?

Bl A: |] did the first time, and then the School Board did not

18] @: The second time around you didn’t recommend him, and he

4} G: Any other grievances or complaints against you while at

{14} @: Have there been occasions where you have threatened

 

 

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A: William. [y a building with a hole in it. So I mean there were just
q] GQ: What were the issues that Jed you to -~- what were the issues all the time.
3] disputes that arose between yourself and Dr, Nilsen that (2 «© Q@: Lam trying to get a sense for the friction with the
#4] led you to seek the aid of Mr. O'Donnell? (4) Board or with the administration, and I see there is
(} A: 1 was pretty outspoken at times in what I believed. 1 I) some issues that have come up.
s] just don’t think either the School Board or Dr. Nilsen jal Did you ever receive a reprimand while you were at
M appreciated it. 7) Dover?
a] «| was not permitted to speak at School Board =) At I don't — the only thing — I received satisfactory
(9) meetings. Dr. Nilsen wrote me a directive that I was is} evaluations, but J always felt that Dr. Nilsen was
[19] only to speak when asked. And at most school meetings, {ic} really harder on me.And he always gave me a one which
tit) I got asked. And when I answered, ] answered honestly. [11] was the lowest score you could get in Board — my
tq After the June meeting, he told me that I was not [2] relationship with the School Board. That really upset
[13] permitted to attend. And it was a double edged sword [13] me because I always — every controversy in Dover always
tay because [ lived in the community.And maybe I couldn't 114] began with the high school and ended with the high
[t5} attend as a Principal, but I could attend as a community 115) school,
[46] member. [4] And to me, it wouldn't have mattered who had been
7, @: And you have referenced the School Board meeting 117) the High School Principal. You would have — they would
(19) situation. I will get back to that. If we look at j18] have been facing the same issues that | had been facing.
149) these disputes with Dr. Nilsen, what was the subject ng) And if you had given your honest opinion — and I just
20) matter? Was that one of them, or were there other jo] really felt on the Creationism issue that we were going
[21] matters that came up? i214] down a wrong road, 1 would have stopped it a long time
22] A: There were other matters. But right now, I honestly R2] ago.
za] can't recall because I just, you know, I just move on. 3] And it was just — I don’t believe in the
] am just trying to — when I first went there, the 124) micromanagement of school systems, and some
Board was really down on Mr. Redding. I had to handle es} Superintendents do.
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It] certain incidents with him. 1 had to set up a mediation (} @: You have referenced the Creationism dispute again. Was
2] berween him and the current School Board President. [2 that a source of friction between you and Dr. Nilsen?
(8) One of the issues was when I recommended the g} A: I think it was because I think he did not like me being
I? original football coach. It was because I felt he was fa] sO outspoken about it. And he — you would have to ask
1s} the best applicant. | him, but I don’t think he appreciated the fact that J
i) ~—sE just think that different people sometimes have [6] was very opinionated about it and backed my teachers,
(7) a different managerial and feadership style. There is 1G: Did he ever talk to you about it?
(8) nothing wrong with either one of you. It is just that 1] A: Only when 1] got the letter from him not to speak at any
13} your styles are not compatible. And I would say that 18) School Board meeting. And the he called me over and
[soy Dr. Nilsen and I just didn’t have compatible styles. : [to] said that the Board didn't appreciate your comments, and
(11 He was a good Superintendent as far as I could {t1] they don't want you to attend any School Board meetings
(12) see. He was very visible, but we just did not (12) again. And I said fine.
[13] particularly work well together. 13] +; What comments was he referring to?
Ia) Qs Okay. pa) A: Probably the comments J had made like what Creationism
5] At | was also there during a very controversial building ig] Theory are we going to teach, and are the science
116) project. I was the Principal of record. So, you know, {16] teachers, teachers of science or teachers of religion?
17] if the meetings weren't on — if the School Board 7 =: When did you make those comments?
[18] Meetings weren’t — when I first went there, the (18) Az In June.
119] controversy was the building project. 19} GQ: Did Dre. Nilsen tell you that that is the comments he was
[20] This current School Board had stopped a previous (20) referring to?
:24) School Board in the middle of a building project. When ft] A: No. But those are the comments that ] made, and he said
I took over Dover, there was a great big auditorium with 122) he didn't want me speaking out like that anymore.
(23) a hole in #t. They had stopped it.The building was in py GQ: Were there other things that you made comment on?
(24, rather disarray. was a very contentious building jaz =A: Not that I recall.
(28) project which really had to be finished because you had 25}  @: Did he discuss comportment at Board meetings with you?

 

 

 

 

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A: The only time — at one time, he accused me of beating {t] you as to why? Did Dr. Nilsen say Dr. Peterman, you ®@
my fist on a table.] said that can’t be because there j2) have been instructed not to speak at Board meetings
was no table in front of me. lt was seated in a chair. 13] because they don’t like the substance of your positions?
And it was a Kralltown, and there were pews. 4] A: He only said that at that time, I believe Mr. Bonselll
1 said what table did I hit? And that was never [s} was the President.And he said the President will
disputed. He said at times, he did not care for my tone is] request your presence if — that’s the only thing that
of voice. And I just told him ] didn't think it was my [7] was said to me — if needed.
tone of voice. 1 thought it was my opinion that got (8 ‘By that time, in all honesty, 1 knew I was leaving
him, not my tone of voice. , Is} so 1 didn’t care. 1t was just like one less battle I
Q: You said you go to bat for your teachers, and you think j10) had to fight.! really wanted to leave Dover anyway
that produced some animosity. Did Dr. Nilsen ever make [tt] because it wasn’t a conducive educational atmosphere
a statement that led you to believe that? {12} that ] was looking for.
A: Not that I recall. tig] G@: What time was that directive given?
Q: Did you in your role as Principal, did you see yourself [4] At It was given after the June Board meeting.
as an advocate for the teachers or part of the 18]  @: You indicated that you had some reservations about the
administration? (16) conduct of Board members?
A: | saw myself as the chief administrator of that building 17] A Yes.
who had the dury to make sure that all of the children (18) @: Early on, you said you attributed a comment to Angie
were educated in a safe and responsible environment. (19) Yingling?
I think there were things that Dr. Nilsen would 120) At Yes.
tell you that I did very well. I was an excellent (21) Q: Was there anything else that you saw that — did you
disciplinarian. I am very well schooled in curriculum. 22] bring that concern to the attention of the Board?
] think he would tell you that I ran the building za =A: No.
project as well as any general ever would have, and for 24 G@: Doctor, any other Board members engage in conduct that @
a woman, I didn't do badly. Actually, he gave me an 25} gave you pause?
Page 86 Page 88
eight, the highest score ] was there on the building tt} MR, ROTHSCHILD: We went through all this ground
project. (2) with my questions, Patrick.
He told me — when J left the District, he told me 13) MIR. GILLEN: No.
; that I was his brightest administrator. 14] MR, ROTHSCHILD: Yes.
| @: Speaking with you today, ] can see why he would say is) A: lam going to stick with the examples that I have given.
that, What I am trying to get a sense for is you said [@) I fust felt at times that there was an extreme lack of
you were told don’t speak at Board meetings. And that 1 professionalism by the Board. And I didn’t like some of
is what ] am trying to understand now. (a) the comments made because I found them demeaning and
| What produced that kind of reaction on the part of 19] degrading to both students and community members and to
the Board? : {to} faculty.
MRA. ROTHSCHILD: Objection. Asks for speculation. i] BY MRP. GILLEN:
| . BY MR. GILLEN: (iq) Q@: Two other things. Are you engaged in litigation
| Q: In other words, Dr. Peterman, you were told — you're [13] presently?
| the Principal, and they told you don't speak at Board 4] At Yes.
| meetings. That strikes me as we sit here today, and I 18) Q: Against your current employer?
pet a chance to discuss this with you, as unusual. lam (6) At Yes, 1 am unfortunately.
| tying to — (17) @: Refresh my memory, please. Who is your current
| A: Extremely unusual. its) employer? .
| Q: lam trying to figure out what conduct, what explanation 19) A: Th Greater Johnstown School District.
| Was given to you for that directive? jz) 4G: What is the nature of that litigation?
i Ar Basically, they didn't want me expressing my views. And fy A: lam not — oy attorney doesn’t want me to —
| the only reason I can speculate is because my views 22}  @: Just the general subject matter. ©
| differed from the majority's. That ts truly 23] A: It involves violations in special education, and I am in
) speculation. 24) charge of special education. And I notified the
|  @: That is very fair of you. Did anyone say anything to j25} District that there were certain things that they were

 

 

 

 

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@ not in compliance with.

(7 Because I did that, some actions were taken

Is} against me because they took it personally, and I was

(4) only trying to get them in line because we are going to

is] be monitored next year by the state. And if you know

i] anything about my reputation, I will not break the law.

fm And it a very uncomfortable position to be in.

1)  @: That is fine.I respect that. Have any grievances been

19) fed against you?
[to] Az In fact, ] am the only administrator in Greater
tt) Johnstown who doesn't have any grievances filed against
12] her at this time.
13] GQ: How about since you left the Dover Area School District,
{14} have you spoken with any persons who are on the Board
[15] since January of 2003 about this controversy?
6} A: No.
(17) MR. GILLEN: J have no further questions.
[1a] MR. ROTHSCHILD: J just have a couple followup
[8] questions.
{20} BY MR, ROTHSCHILD:
1] @: You referred before to the statement that the biology
[22] teachers would make when they taught Evolution that

3) there are other theories including Creationism?

Az Yes.
125) GQ: Did the teachers describe Creationism as another

Page 90
(1) scientific theory?
2] A: All | can answer that, Eric, is they just stated that
Ig] sentence that it was another alternate theory, and then
14] they moved on. 1 don’t think they classified it as
(s] either scientific or religious. It was just
(6) Creationism, we are moving On.
7] @: When you received this directive not to speak at public
ja) School Board meetings, was that directive given to you
fg] in writing?
to) Ar Yes, it was.
i) @: And L assume it said don't speak at public School Board
12] meetings?
pa] A: It said please don't speak at public — it actually
[*4] happened before the June meeting because they were upset
[9] I think when | spoke out about the football coach. |
te} had to be recognized by the School Board President. So
17] at the very next meeting, ] was asked a question. And |
tia} Jooked right up and J said am I permitted to answer the
(19) question?
20) 1 was not aware at that time that there were oniy
two School Board members aware of this directive, the
@ President and the Vice-President. Nobody else on the
i231] Board was aware that 1 was gagged. And at that point, J
(24) believe Mrs. Callahan was still on the Board and wanted
125] to know why | was going through all of this — why I was

 

 

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going through all of this.

I don't know whether she spoke as a Board member
or a citizen, why isn’t she allowed to speak. Then 1
was given I believe another written directive that I did
not have to ask for permission to speak at School Board
meetings when recognized, but I would not violate the
directive.

Q: And did the directive indicate whether the instruction
was coming from the Board as opposed to administration?

A: It was the wish of Alan Bonsell, and J forget there was
another School Board member. He is no longer a School
Board member. 1 believe he moved to Lancaster. !
forget his name. It's Noel Wenrich.

G: That was actually stated in the directive in the written
document?

A: [have to review it if still have it.I believe it
was. | had to be recognized by either the President or
the Vice-President.

Q@: Did the directive indicate why this instruction was
being given in writing?

A: Basically, no.

G@: Then am I correct in understanding you received a later |
directive not to attend Board meetings at ail?

A: Yes, that was after the June meeting.

Q: Did that come in writing as well?

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A: Yes, it did, sir.

Q@: At the time you received that directive, had you
submitted your resignation?

A: I don’t believe I had.

Q: How was that — let me go back to the directive about
not speaking. How was that delivered to you? Was it
given to you by hand or mailed to you?

A: I think ] received it in inner school mail.

Q: When you received that directive about not speaking, who
was it from? Who did it say it was from? °

A: Dr. Nilsen.

Q: Did you go to him and say why am I receiving this
directive?

A: No.

Q: Did you ever have any conversation with him about that?

A: I believe there was one brief conversation in an
evaluation or something. He accused me of hitting a
table. And I said | can be really, really pressed and
pressed, and I rarely lose my temper. And it is not my
nature to jump up and hit anything.

And he said well, certain Board members recalled
it. But yet if you talked to other Board members, they
didn’t recall it at all.

Q: And the directive not to attend School Board mectings

also, it was in writing?

 

 

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A: It was in writing, and it was from Dr. Nilsen.

Q: And aiso came through inner office mail?

A: Yes.

Q: And after you received that directive not to attend, did
you ever attend any further meetings in perhaps your
capacity as a community member?

A: No.

Q@: Did the directive instructing you not to attend explain
why that instruction was being given in writing?

A: No. It just said I was not to attend. fl was to
attend, | would receive ] guess an invitation or be told
specifically what the topics were that I was to discuss.

Q: Did you have any conversation with Dr, Nilsen about that

| directive?

) A: No.

| @: What about with any Board member?

| A: No.

) MR. ROTHSCHILD: Patrick, I am going to ask that
| you produce those directives.

| MR. GILLEN: ! will look into that. I don’t sce

} any problem right now.

| MR. ROTHSCHILD: I have no further questions.
} Thank you very much.

| MR. GILLEN: Thank you for coming down.

| (The deposition was concluded at 1 1:40 a.m.)

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SOMMONWEALTH OF PENNSYLVANIA
SOUNTY OF CUMBERLAND :

1, Vicki L. Fox, Reporter and Notary Public in and

for tha Commonwealth of Pennsylvania and County of
Cumberkind, do nereby cerlify thal the foregoing
testimony was laken before me at the time and place
hereinbefore sei torth, and that if is the lestimony of:

TRUDY PETERMAN

| further certity that said witness was by me duly

sworn to testify the whole and complete truth in said
cause; that the lestimony then given was reported by me
slenographically, and subsequently transcrbed under my
direction and supervision, and that the foregoing Is a

full, true and correct transcript of my original

shorthand notes.

{ turiher certity that 1am not counsel for nor

related fo any of the parties te the foregoing cause,

nor employed by them or their attorneys, and am not
interested in the subject matter or outcome thereof.
Dated at Camp Hill, Pennsylvarda, this 20th day of

dune, 2005.

Vicki L. Fox
Reporter - Notary Public

(Fhe loregoing certification does not apply to any
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